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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                            CRIMINAL NO. 14-289 (SRN/JSM)

      Plaintiff,

v.                                                  REPORT AND RECOMMENDATION

ELEUTERIO IZAZAGA-PASCACIO (4),

      Defendant.



      The above matter came before the undersigned United States Magistrate Judge

upon Defendant Eleuterio Izazaga-Pascacio’s Motion to Suppress All Evidence

Obtained from Unlawful Searches and Seizures [Docket No. 346]; Defendant Eleuterio

Izazaga-Pascacio’s Motion to Suppress Statements Made by Defendant [Docket No.

347]; and Defendant Eleuterio Izazaga-Pascacio’s oral motion to suppress any

evidence obtained from a search warrant permitting the use of a GPS tracking device. 1

      Allen A. Slaughter, Assistant United States Attorney, appeared on behalf of the

Government.        Daniel L. Gerdts, Esq., appeared on behalf of defendant, who was

personally present.

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        In a motion filed by his former counsel, Ryan Pacyga, defendant sought to
suppress evidence obtained from law enforcement’s use of a GPS tracking device on a
grey Acura, as well as any statements obtained from any intercepted wire or oral
communications. See Docket No. 180 (Motion to Suppress the Contents of Any
Intercepted Wire or Oral Communications and Evidence Derived Therefrom). On March
19, 2015, the Court conducted a hearing to address motions of all defendants in this
case, including motions filed by Pacyga on behalf of defendant. At the conclusion of
that hearing, the Court informed those counsel who had filed boilerplate motions that if
they did not submit supporting memoranda explaining the legal and factual basis for
their Title III motions by April 2, 2015, the Court would deem the motions as withdrawn.
On April 2, 2015, Pacyga communicated via letter to the Court that he would be filing no
memorandum in support of his motion to suppress the contents of any intercepted wire
or oral communications. The next day, counsel confirmed that he was withdrawing both
the motion and the supporting memorandum. Based on those communications, the
Court terminated Docket No. 180.
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       The matter has been referred to this Court for a Report and Recommendation

pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 72.1(c).

I.     FACTUAL BACKGROUND

       A.    Hearing Testimony

       On December 14, 2015, the Court held an evidentiary hearing and took

testimony from Agent Jeffrey Benadum of Homeland Security Investigations (“HSI”). 2

Agent Benadum testified that in July, 2011, the HSI office in St. Paul was notified by

agents at HSI Miami that they had been contacted by a group in Mexico to pick up a

large sum of bulk cash in the Minneapolis, Minnesota area and to launder the cash into

Mexico. Transcript of December 14, 2015 Motions Hearing, p. 13 (“Tr.”) [Docket No.

354]. HSI Miami sent representatives to Minnesota, and within two or three weeks, HSI

agents “laundered” approximately $400,000 for the group in Mexico. Tr. 13, 74. The

group contacted HSI again within the three-week period to launder an additional

$200,000, but that money was seized by law enforcement agents. Id. During this initial

investigation and seizure, HSI identified a Heriberto Penaloza as a primary target. Tr.

14.

       HSI then began investigating other individuals who had been identified delivering

the bulk cash to the undercover agents.        Id.   Officers determined that Heriberto

Penaloza ran a “tight knit group” consisting mostly of family members including his

brother Eduardo Penaloza, his uncle Leonel Penaloza, and his cousins Israel Penaloza

and Gilberto Penaloza. Tr. 15. This group operated an auto repair shop called Auto

Laser. Tr. 14-15, 25. After conducting more than 500 hours of surveillance in 2011 and

2
      In the hearing transcript, the HSI agent’s name is spelled “Benadul.” However,
both parties consistently refer to him as Agent “Benadum.” To avoid confusion, the
Court will use the spelling endorsed by the parties.

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2012, law enforcement officers determined that Auto Laser was not making money

based on the number of vehicles moving in and out of the business. Tr. 25. Officers

also learned that none of the three individuals that opened Auto Laser knew anything

about repairing vehicles. 3 Tr. 25-26. Ultimately, law enforcement concluded that Auto

Laser was a front for a money laundering operation. Tr. 25.

              1.      Israel Penaloza

       On August 25, 2011, law enforcement officers conducted a traffic stop of Israel

Penaloza (“Israel”), who, unbeknownst to him, was on his way to deliver $200,000 in

cash to undercover agents. Tr. 15-16. During the traffic stop, Israel told officers he had

no idea what was in the vehicle.        Tr. 16.    Upon searching the vehicle, officers

discovered approximately $200,000 of United States currency, but Israel denied

ownership of the cash. Id. Israel was subsequently deported from the United States.

Id.

              2.      Gilberto Penaloza

       On April 5, 2012, Gilberto Penaloza (“Gilberto”) was arrested on a traffic stop by

the Fridley Police Department, and officers were able to ascertain his residence in

Fridley, Minnesota.    Tr. 16, 17-18.   When police arrived at Gilberto’s residence, a

female occupant who claimed to be Gilberto’s girlfriend consented to a search of the

premises. Tr. 16-17. During the search, officers discovered a two-drawer filing cabinet

located in a closet under the stairs on the lower level of the residence. Tr. 21. The filing

cabinet contained a handgun and a clear plastic bag holding approximately one pound

of methamphetamine. Tr. 17, 21; Gov’t Exs. 1-D, 1-E, 1-F. Additionally, on the lower

level of the residence, officers seized a digital scale, United States currency, carbon

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       Agent Benadum testified that Auto Laser eventually hired a mechanic. Tr. 26.

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paper and packaging material. Tr. 22; Gov’t Ex. 1-G. Inside Gilberto’s bedroom was a

box containing additional cash. Tr. 22; Gov’t Exs. 1-H, 1-I. Law enforcement also

searched the attic of the main bedroom and found 28 to 30 plastic wrappings; officers

estimated that at one point, each wrapping contained approximately one pound of

methamphetamine. Tr. 22; Gov’t Ex. 1-J. Lastly, police discovered a black package

containing United States currency, which was located above a ceiling panel on the

lower level. Tr. 23; Gov’t Exs. 1-K, 1-L. In total, law enforcement seized approximately

$350,000 and about one pound of methamphetamine. Tr. 17, 23-24. Agent Benadum

testified that the $350,000 was scattered throughout the house—hidden in the ceiling

tiles, under beds, in drawers and in closets. Tr. 24. Following the search, Gilberto told

police he had no idea who owned the money, handgun or methamphetamine. Tr. 23.

              3.     Heriberto Penaloza

       Agent Benadum testified that Heriberto Penaloza (“Penaloza”) was an illegal

alien who had been deported from the United States three times. Tr. 54. According to

Agent Benadum, Penaloza was very illusive and difficult to follow on paper. Tr. 26. He

did not have any property in his name, including residences or business; instead, he

relied on at least three different girlfriends to rent homes and register vehicles in their

names. Tr. 26-27. By the fall of 2012, law enforcement knew that Penaloza stayed or

slept at five to seven different locations and drove more than ten different vehicles, none

of which were titled in his name. Tr. 27. Although law enforcement officers were not

able to ascertain how many phones Penaloza used at any given time, they observed

that it was always more than one, and usually more than two. Id. In addition, Penaloza

frequently changed phones and phone numbers.           Tr. 28.   While driving, Penaloza

employed counter-surveillance tactics such as making frequent U-turns, speeding up

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and slowing down, and making unlawful turns to determine if anyone was following him.

Tr. 28-29. At times, he would use his phones to record license plates or descriptions of

vehicles in case he saw the same vehicle again later that day or in another location. Tr.

29.

       On September 10, 2012, law enforcement arranged for the purchase of a sample

of methamphetamine from Penaloza through the use of a confidential informant (“CI”).

Tr. 29. Penaloza instructed the CI to meet him at a bus stop on foot, taking several

turns along the way to ensure he was not being followed. Id. Eventually, the CI met

with Penaloza and obtained a sample of methamphetamine. Tr. 30. A short time later,

the CI contacted Penaloza again to purchase one ounce of methamphetamine. Id.

Penaloza gave the CI approximately one hour to meet him on foot, once again cutting

through yards and houses to avoid detection. Id. The CI successfully purchased one

ounce of methamphetamine from Penaloza. Id.

       On November 9, 2012, the CI called Penaloza and ordered two ounces of

methamphetamine. Id. Penaloza told the CI that he would send someone to deliver the

methamphetamine; he would not be delivering it himself. Tr. 31. Penaloza directed the

CI to a bathroom in a Home Depot in Inver Grove Heights, Minnesota.             Id.   Law

enforcement officers monitored the CI and “kept eyes on him” until he entered the Home

Depot bathroom. Id. An unidentified individual then entered the bathroom and handed

the CI a bag containing two ounces of methamphetamine. Id. Following the exchange,

the CI received a call from Penaloza asking if everything was good. Id. Penaloza told

the CI not to follow the courier and not to say anything about the courier to anyone else.

Id.



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             4.      Defendant Eleuterio Izazaga-Pascacio

      By the fall of 2012, police learned that an individual known as “El Tigre” was

accompanying Penaloza. Id. According to Agent Benadum, El Tigre was from Fresno,

California and was believed to be Penaloza’s boss. Id. At that time, law enforcement

knew nothing more about El Tigre other than his physical description, which officers had

obtained from the CI. Id.

      On February 7, 2013, police set up another controlled purchase of

methamphetamine from Penaloza. Tr. 32. The CI contacted Penaloza, ordered four

ounces of methamphetamine, and negotiated to pay one half of the value up front and

the remaining half within the week. Tr. 32, 41. Penaloza told the CI to go to a bathroom

inside a Home Depot in Minneapolis. Tr. 32. Penaloza arrived at the Home Depot

driving a grey Acura bearing license plate XXX005. Id.; Gov’t Ex. 2-A. Defendant was

observed riding in the front passenger seat of the Acura. Tr. 32, 33; Gov’t Ex. 2-A.

Both defendant and Penaloza entered the Home Depot, and Penaloza delivered the

methamphetamine to the CI in the bathroom. Tr. 34; Gov’t Exs. 2-B, 2-C. Following the

exchange, Penaloza exited the Home Depot, followed shortly thereafter by defendant.

Tr. 80. Defendant and Penaloza left the premises together in the Acura. Tr. 34; Gov’t

Ex. 2-D. At that point, law enforcement did not know defendant’s identity, but they

suspected that he might be El Tigre. Tr. 34. According to Agent Benadum, when asked

what El Tigre looked like, the CI described an individual who looked very similar to

defendant. Tr. 78.

      On February 11, 2013, Penaloza spent the night at XXX Colfax Avenue in

Southwest Minneapolis (“Colfax Apartment”). Tr. 36. Police suspected that Penaloza

was residing at the Colfax Apartment and was possibly using it as a drug stash house.

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Tr. 36-37. On February 13, 2013, the property manager gave officers access to the

Colfax Apartment building, and a canine sniff was conducted in the common hallway of

Apartment XXX. Tr. 37-38. Based on the results of the canine sniff, officers obtained a

search warrant for Apartment XXX, which was issued the same day. Tr. 38.

       During this general time period, law enforcement continued to conduct physical

and electronic surveillance on Penaloza. Id. By pinging Penaloza’s phone, officers saw

that he was moving frequently between the Colfax Apartment and an apartment

complex in Edina, Minnesota. Tr. 38-39, 45. Penaloza used the grey Acura to travel

back and forth between the two locations. Tr. 45.

       On February 14, 2013, the CI called Penaloza and arranged to pay the remaining

half of the money due from the February 7, 2013 controlled purchase of

methamphetamine. Tr. 41. Penaloza told the CI that he was sick and that he would be

“sending his guys” to pick up the money at a Boston Market restaurant in Richfield,

Minnesota.    Tr. 42.   Law enforcement pinged Penaloza’s phone at that time and

confirmed that he was at the Colfax Apartment.           Tr. 39-40.     Police then initiated

surveillance of the grey Acura used during the previous controlled deliveries of

methamphetamine. Tr. 39. The Acura was driven by a Miguel Morales and defendant

was a passenger in the vehicle. Id. Law enforcement maintained physical surveillance

of the Acura as it traveled to various locations in the metro area. 4 Id.; Gov’t Exs. 3-A, 3-

B, 3-C, 3-D, 3E. Eventually, the Acura arrived at a Boston Market in Richfield. Tr. 42-

43. Both defendant and Morales entered the Boston Market, and the CI handed the




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       According to Agent Benadum, defendant and Morales ran a variety of errands
that day, many of which were ordinary in nature. Tr. 81-82.

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agreed-upon payment to defendant in the bathroom of the restaurant. Tr. 43, 81. There

was no discussion regarding what the money was for. 5 Tr. 81.

         Law enforcement continued physical surveillance as defendant and Morales

exited the restaurant and left the premises in the Acura. 6 Tr. 43; Gov’t Exs. 3-F, 3-G.

Officers followed the Acura to an apartment complex at XXX Parklawn in Edina

(“Parklawn Complex”). Tr. 43. Law enforcement suspected that the Parklawn Complex

was the other residence used by Penaloza for drug trafficking. Tr. 43-44. Within one or

two hours after leaving the Boston Market, defendant and Morales exited the Parklawn

Complex with a shopping cart and headed towards the grey Acura. Tr. 44; Gov’t Exs. 3-

H, 3-I. Defendant and Morales began unloading items from the trunk of the Acura into

the shopping cart to take back into the apartment building. Tr. 44-45; Gov’t Exs. 3-J, 3-

K. Many of these items were ordinary household items such as bathroom tissue. Tr.

81-82.

         On February 15, 2013, law enforcement prepared to execute the search warrant

at the Colfax Apartment. Tr. 46. Officers positioned themselves around the area at

approximately 11:30 a.m. and planned to initiate the search at 1:00 p.m. Id. However,

at about 12:50 p.m., defendant, Penaloza and Morales arrived at the Colfax Apartment

in the grey Acura. Tr. 47. The three men entered the apartment building through the

front door. Tr. 48. Five to ten minutes later, Morales came out of the building and

moved the Acura to the rear of the apartment complex. Id. Defendant, Penaloza and

Morales then carried bags from the apartment and loaded them into the trunk of the


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         The CI was wearing a wire during this exchange. Tr. 81.
6
      Agent Benadum testified that the Acura was always driven by Morales; defendant
was always a passenger. Id.

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Acura. Tr. 48-49. Sometime between 1:15 and 1:30 p.m., defendant, Penaloza and

Morales entered the Acura and headed to a nearby CVS drugstore on Lake Street in

Minneapolis.      Tr. 49.   Law enforcement continued surveillance on the Acura but

eventually lost sight of the vehicle. Tr. 50. However, officers maintained a GPS ping on

Penaloza’s phone, and based on the ping, police believed the Acura was on its way to

the Parklawn Complex, and officers headed to that location. Id. Upon arriving at the

Parklawn Complex, officers spotted the grey Acura sitting unoccupied in the parking lot.

Tr. 53.

          Back at the Colfax Apartment, and following the departure of the Acura, law

enforcement executed the search warrant at about 1:30 p.m. Tr. 51. During the search,

officers discovered 33 pounds of methamphetamine stored in a locked two-drawer filing

cabinet located inside a closet in Apartment XXX.       Tr. 51-53; Gov’t Exs. 4-A, 4-D.

Agent Benadum testified that the two-drawer filing cabinet was “very, very similar to the

exact type of . . . two-drawer filing cabinet that [law enforcement] found at Gilberto

Penaloza’s residence.” Tr. 51. Police also found four pounds of marijuana located in a

box on a shelf above the two-drawer filing cabinet. Tr. 52, 53; Gov’t Exs. 4-B, 4-E.

Based on the results of the search at the Colfax Apartment and the totality of the

investigation, law enforcement decided to arrest defendant, Penaloza and Morales, if

located. Tr. 54.

          At approximately 2:30 p.m. that day, officers at the Parklawn Complex observed

defendant and Penaloza exiting the building and walking towards the Acura. Tr. 55.

Penaloza got in the front passenger seat of the Acura and defendant sat in the rear

passenger seat behind him. Id. Shortly thereafter, Morales came out of the apartment

building through the same door as defendant and Penaloza, and began walking towards

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the Acura.   Tr. 56.   Before Morales reached the Acura, law enforcement officers

approached and arrested him. Id. Defendant and Penaloza were also placed under

arrest. Id. Police initiated a field interview of defendant and Morales. Id. Morales gave

his name and stated that he lived at the Parklawn Complex in apartment XXX. Id.

Defendant identified himself, gave his date of birth and produced a California driver’s

license with his address.   Id.   At that time, law enforcement officers conducted an

inventory search of the Acura. Tr. 63, 64. The search produced nothing of evidentiary

value. Tr. 85.

      After the inventory search, defendant was brought to the Hennepin County Law

Enforcement Center. Tr. 65. Officers interviewed defendant at approximately 6:00 p.m.

Tr. 65-66; Gov’t Ex. 6. Prior to the interview, defendant was read his Miranda rights in

English and in Spanish.     Tr. 67-68; Gov’t Exs. 7, 8.    Defendant indicated that he

understood his Miranda rights and agreed to speak with law enforcement.          Tr. 72.

During the interview, defendant gave incriminating statements.

      B.     Motions to Suppress and Government Response

      Defendant has sought to suppress all evidentiary fruits of his arrest on February

15, 2013, including his identity, his residence, his finger and handprints, and his

statements given to law enforcement officers during his post-arrest interview at the

Hennepin County Law Enforcement Center.          In support of his motions, defendant

argued that police lacked probable cause to support his arrest on February 15, 2013.

Defendant Eleuterio Izazaga-Pascacio’s Post-Hearing Memorandum of Law in Support

of Motions to Suppress, pp. 2-7 (“Def.’s Mem.”) [Docket No. 360]. 7           Defendant


7
       At the hearing on December 14, 2015, defendant’s current counsel, Daniel
Gerdts, brought an oral motion to suppress evidence resulting from a search warrant
permitting the use of a GPS tracker on the grey Acura. Tr. 3-6. Defendant also
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maintained that even though there was probable cause to believe Penaloza was

involved in narcotics trafficking and money laundering, law enforcement officers had no

basis for finding probable cause to arrest defendant. Id., p. 5. Further, the mere fact

that defendant was observed associating with Penaloza does not, by itself, support a

finding of probable cause. Id. (citing United States v. Castro-Gaxiola, 479 F.3d 579,

583 (8th Cir. 2007); United States v. Everroad, 704 F.2d 403, 406 (8th Cir. 1983)).

      In support, defendant contended that on February 7, 2013, he was not present

for the controlled purchase of methamphetamine in the Home Depot bathroom, and

there was nothing to suggest he had any greater knowledge of the sale than anyone

else in the store at the same time. Id., pp. 5-6. With regard to the exchange of money

at the Boston Market on February 14, 2013, defendant pointed out that there was no

discussion regarding what the money was for. Id., p. 6. As for the discovery of a large

amount of narcotics in the Colfax Apartment, defendant submitted that the drugs were

“well hidden in a closet, in a locked filing cabinet or in a nondescript box on the closet

shelf.” Id. There was no evidence at the time of the search that anyone would have

been aware of the drugs merely by being present in the apartment. Id.

confirmed that he was seeking to suppress all statements obtained from the custodial
interrogation that took place on February 14, 2013, on grounds that they were coerced,
not voluntary and were obtained in violation of the requirements of Miranda v. Arizona,
384 U.S. 436 (1966). See Docket No. 347; Tr. 3. However, in his post-hearing
memorandum, defendant conceded that based on the evidence adduced at the hearing,
the “Government had carried its burden of demonstrating that the installation and use of
the tracking device was constitutionally effected; and, with respect to the motion to
suppress statements, the Government has carried its burden of proof that the
statements were not the product of coercion and that the police interrogators properly
followed the prophylactic requirements of the Miranda case.” Def.’s Mem., pp. 1-2.
Thus, based on these representations, the Court will recommend that defendant’s oral
motion to suppress any evidence obtained from the search warrant for the GPS tracker
should be denied, and the Court will only address defendant’s argument that all
statements given by him should be suppressed because there was no probable cause
to arrest him.

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      The Government responded that the totality of circumstances demonstrated that

defendant was not “merely present” during the illegal activities observed in this case.

Government’s Post-Hearing Response to Defendant’s Suppression Motions, p. 15

(“Gov’t Mem.”) [Docket No. 364].    By February, 2013, law enforcement agents had

investigated and ascertained Penaloza’s drug trafficking activities and had observed

Penaloza to be extremely cautious and elusive. Id., p. 12. Nevertheless, Penaloza

brought defendant with him to his third controlled delivery of methamphetamine at the

Home Depot in Minneapolis on February 7, 2013.          Id., p. 13.   According to the

Government, these facts alone could lead a reasonable agent to believe defendant was

part of Penaloza’s drug trafficking organization, especially after law enforcement

succeeded in obtaining methamphetamine from Penaloza. Id.

      The Government also noted that agents had observed defendant riding in the

grey Acura used by Penaloza for his drug trafficking business, as well as running

errands with Morales on February 14, 2013 while Penaloza was ill. Id. These errands

included collecting money owed for the February 7, 2013 controlled purchase of

methamphetamine.     Id., pp. 13-14.    Further, the following day, officers observed

defendant helping Penaloza loading bags from the Colfax Apartment into the grey

Acura. Id., p. 14. Immediately after defendant and Penaloza left the premises, police

searched the Colfax Apartment and recovered a large amount of methamphetamine

and marijuana “stored in a manner and means (a two-drawer file cabinet) previously

used by what agents knew was another DTO associate.” Id. For all of those reasons,

the Government maintained that law enforcement officers had probable cause to arrest

defendant on February 15, 2013. Id., p. 3.



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II.    DISCUSSION

       “‘To justify a warrantless arrest, probable cause must exist.’” United States v.

Houston, 548 F.3d 1151, 1154 (8th Cir. 2008) (quoting United States v. Adams, 346

F.3d 1165, 1169 (8th Cir. 2003)). “Probable cause to make a warrantless arrest exists if

‘the facts and circumstances are sufficient to lead a reasonable person to believe that

the defendant had committed or is committing an offense.’” United States v. Allen, 713

F.3d 382, 386 (8th Cir. 2013) (quoting United States v. Torres-Lona, 491 F.3d 750, 755

(8th Cir. 2007)); see also United States v. Oropesa, 316 F.3d 762, 768 (8th Cir. 2003)

(finding that probable cause “‘exists when at the moment of arrest police have

knowledge of facts and circumstances grounded in reasonably trustworthy information

sufficient to warrant a belief by a prudent person that an offense has been or is being

committed by the person to be arrested.’”) (quoting United States v. Hartje, 251 F.3d

771, 775 (8th Cir. 2001)). To determine the existence of probable cause, “[w]e consider

‘the totality of the circumstances as set forth in the information available to the officers

at the time of arrest.’” United States v. Quiroga, 554 F.3d 1150, 1154 (8th Cir. 2009)

(quoting United States v. Kelly, 329 F.3d 624, 628 (8th Cir. 2003)). “The totality of

circumstances are viewed in light of the officer’s experience and familiarity with drug

trafficking.” Castro-Gaxiola, 479 F.3d at 583 (citing United States v. Bailey, 417 F.3d

873, 877 (8th Cir. 2005)).

        “We must give law enforcement officers substantial latitude in interpreting and

drawing inferences from factual circumstances, but such latitude is not without limits.”

United States v. Adams, 346 F.3d 1165, 1170 (8th Cir. 2003) (internal quotation marks

omitted) (quoting Kuehl v. Burtis, 173 F.3d 646, 650 (8th Cir. 1999)).         “While bare

suspicion of criminal activity is not sufficient to establish probable cause,” Id. at 1169-

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70, “[a]rresting officers are not required to witness actual criminal activity or have

collected enough evidence so as to justify a conviction for there to be a legitimate

finding of probable cause to justify a warrantless arrest.” United States v. Winarske,

715 F.3d 1063, 1067 (8th Cir. 2013) (citing United States v. Webster, 625 F.3d 439, 442

(8th Cir. 2010)). “Instead, the mere ‘probability or substantial chance of criminal activity,

rather than an actual showing of criminal activity,’ is all that is required.” Winarske, 715

F.3d at 1067 (citing United States v. Mendoza, 420 F.3d 663, 667 (8th Cir. 2005)).

       The gist of defendant’s motion to suppress is that his mere association with

Penaloza and presence at the scene of suspected drug trafficking activity was not, by

itself, sufficient to support a finding of probable cause to arrest him, and thus, any all

evidentiary fruits from that arrest must be suppressed.

       It is well established that “‘mere association with a known or suspected criminal,

or mere presence in that person's automobile, does not create probable cause to

arrest.’” United States v. Caves, 890 F.2d 87, 94 (8th Cir. 1989) (quoting United States

v. Clark, 754 F.2d 789, 791 (8th Cir. 1985)); see also United States v. Mims, 567 F.

Supp. 2d 1059, 1077 (D. Minn. 2008) (“[M]ere association with a known or suspected

criminal ... does not create probable cause to arrest.”) (quoting Everroad, 704 F.2d at

406). “Nor is probable cause established by the presence of a person in a location

known to be frequently involved in narcotics sales or other crimes.” Everroad, 704 F.2d

at 406 (citation omitted).

       At the same time, in assessing probable cause based on association with

persons suspected of engaging in criminal activity, a court should consider whether the

nature of the criminal activity is such that it could not normally be carried on without the

knowledge of all persons present. Clark, 754 F.2d at 791-92 (citing United States v.

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Hillison, 733 F.2d 692, 697 (9th Cir. 1984)).         In addition, the Eighth Circuit has

repeatedly found probable cause in cases where the association between the defendant

and a criminal suspect was contemporaneous with the time of the criminal activity.

Caves, 890 F.2d at 95 (citing Clark, 754 F.2d at 791; United States v. Hillison, 733 F.2d

692, 697 (9th Cir. 1984)); see also United States v. Sotelo, Crim. No. 09-254

(JNE/AJB), 2010 WL 598606, at *3 (D. Minn. Feb. 8, 2010) (“The Eighth Circuit has

repeatedly distinguished Everroad in cases where the association between an individual

and another engaged in suspected criminal activity took place at the time of the criminal

activity.”) (citing Caves, 890 F.2d at 95; United States v. Vravis, 761 F.2d 513, 515–16

(8th Cir.1985); Clark, 754 F.2d at 791).

       In Everroad, the Eighth Circuit reversed the district court’s finding that officers

had probable cause to arrest Everroad for drug trafficking offenses. 704 F.2d at 407.

The appellate court summarized the facts supporting the district court’s finding of

probable cause as follows:

              First, the agents observed Everroad accompanying Bragg,
              whom the agents knew was then involved in a drug
              transaction, to areas where the deal was being arranged.
              Second, under Bragg's plan, [undercover] Agent Carter
              would receive the cocaine within a half hour after he
              received the marijuana; and the agents knew that Everroad's
              motel was located within the one-half hour radius of the
              place where Bragg delivered the marijuana.

Id. at 406.
       With respect to the first fact, the court noted that “mere association with a known

or suspected criminal, or mere presence in that person's automobile, does not create

probable cause to arrest. . . . Nor is probable cause established by the presence of a

person in a location known to be frequently involved in narcotics sales or other crimes.”

Id. (citations omitted). As to the second fact, the location of Everroad’s hotel, the court
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held that “such physical proximity to a crime combined simply with a brief association

with a suspected criminal—when there is no other unlawful or suspicious conduct by

any party involved—cannot support a finding of probable cause.” Id. at 407.

        In Vravis, an undercover DEA agent, Special Agent Carter, arranged to purchase

cocaine from Vravis’s co-defendant Lonnie Clark. 761 F.3d at 514. Clark told Agent

Carter that his drug source was en route and that he would call the next day with

details. Id. The following morning, Clark called Agent Carter and said “the guys” had

arrived and were waiting to get their money. Id. Clark told Agent Carter to come to a

flower shop in Des Moines, Iowa as soon as possible so that his drug source, whom

Clark called “the guys” and “city boys,” would stick around. Id. Clark also stated that he

had a tire problem and that “the guys” were fetching a new one. Id. Agent Carter then

radioed for assistance, and Special Agents Thornton and Overbaugh arrived at the

scene to conduct surveillance. Id. at 514-15. Agents Thornton and Overbaugh spotted

Clark’s car and advised Agent Carter of the presence of a white car with Illinois license

plates. Id. at 515. One of the occupants of the white car, Vravis, was examining Clark’s

left front tire. Id.

        When Agent Carter arrived on scene, he saw Clark, his wife Rebecca Clark, and

their child sitting in Clark’s car. Id. He also observed a white car with Illinois plates

parked in an adjacent parking lot. Id. Agent Carter parked his vehicle next to Clark’s

vehicle. Id. Clark got into Agent Carter’s vehicle and handed him three ounces of

cocaine in exchange for $6,300 in bills with prerecorded serial numbers. Id. Agent

Carter asked about the source of the cocaine, and Clark responded that “the guys” were

over there waiting. Id. Clark then returned to his own vehicle, drove to the adjacent lot,

and got into the white car with Illinois plates. Id. Approximately ten minutes later, Clark

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returned to his car, and both vehicles attempted to leave the parking lot. Id. However,

the three DEA agents intercepted Clark’s vehicle and the white car and placed the

occupants under arrest. Id. A search of the two vehicles produced evidence of Vravis’s

participation in drug trafficking.   Id.   On Vravis’s person, officers found one of the

marked bills Agent Carter had given to Clark. Id.

       Prior to trial, Vravis moved to suppress the evidence obtained from his vehicle

and from his person. Id. Vravis argued that his association with a known or suspected

criminal did not create probable cause to arrest. Id. (citing Everroad, 704 F.2d at 406).

The district court denied Vravis’s motion, and a jury returned a guilty verdict against

both Vravis and Clark. Id. On appeal, the Eighth Circuit affirmed the district court’s

decision, finding that the facts implicating Vravis in drug trafficking revealed more than

mere association with a suspected criminal. Id. at 516. The court noted that Vravis and

his vehicle were present in the immediate vicinity of the drug transaction at all times

before, during and after the sale. Id. Before the sale, Vravis was observed standing

next to Clark’s vehicle looking at the front tire.     Id. During the exchange, Vravis’s

vehicle was parked in a location from which its occupants could easily view the

transaction. Id. Immediately after the sale, agents observed Clark enter Vravis’s car,

return to his own vehicle, and begin to leave. Id. Further, Agent Carter knew that

Clark’s drug source—“the guys” or “city boys”—was in town and was helping to fix

Clark’s tire. Id. At the time of the transaction, Clark told Agent Carter that his source

was “over there.” Id. Based on this information, Agent Carter was able to connect “the

guys” to Vravis and his associates.          Id.   Accordingly, the court found that law

enforcement agents could have reasonable concluded that Vravis was Clark’s drug

source and was there to oversee the transaction between Clark and Agent Carter. Id.

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      Turning now to the instant case, the Court concludes that, at the time of his

arrest, probable cause existed to believe defendant was involved in drug trafficking

activity. Unlike in Everroad, the evidence in this case establishes more than a mere

presence or association with narcotics trafficking activity. 8 Agent Benadum testified that

Heriberto Penaloza was extremely cautious, difficult to follow on paper, and frequently

employed counter-surveillance tactics to avoid detection by law enforcement.

Notwithstanding his great vigilance, on February 7, 2013, Penaloza brought defendant

with him to execute a controlled delivery of methamphetamine in the bathroom of a

Home Depot in Minneapolis. On that day, defendant and Penaloza arrived at the Home

Depot together in a grey Acura, entered the store at the same time, and left the

premises in the same vehicle following the sale.

      As in Vravis, the fact that defendant arrived and left the Home Depot with

Penaloza, and was present at the scene before, during and after the sale, suggests that

he was not merely an innocent bystander, but rather that he was there to assist, protect

or supervise Penaloza during the narcotics sale. See 761 F.2d at 516 (“[A]gents could

have reasonably concluded Vravis was Lonnie Clark’s drug source and was present to

keep an eye on his investment and to ensure he received his portion of the proceeds

from the transaction.”); cf. United States v. Cowan, 674 F.3d 947, 954 (8th Cir. 2012)

(“[A] car passenger . . . will often be engaged in a common enterprise with the driver,

and have the same interest in concealing the fruits or the evidence of their

wrongdoing.”) (quoting Maryland v. Pringle, 540 U.S. 366, 373 (2003)). Indeed, the

Supreme Court has noted that drug dealing is “an enterprise to which a dealer would be
8
       Castro-Gaxiola, also cited by defendant, provides no support for his motion. In
that case, the Eighth Circuit rejected Castro-Gaxiola’s contention that his arrest was due
to his mere presence near other individuals suspected of engaging in criminal activity.
479 F.3d at 583-84.
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unlikely to admit an innocent person with the potential to furnish evidence against him.”

Pringle, 540 U.S. at 373; see also Sotelo, 2010 WL 598606, at *4 (same). As such,

defendant’s close association with Penaloza and physical proximity to a known

narcotics sale, combined with Penaloza’s record of extreme caution, could lead a

reasonable law enforcement officer to conclude that defendant was involved in drug

trafficking.

       Additionally, on February 14, 2013, the CI called Penaloza and arranged to pay

the outstanding balance from the February 7, 2013 controlled purchase of

methamphetamine. Penaloza said he was sick and that he would be “sending his guys”

to pick up the money at a Boston Market in Richfield, Minnesota. Consistent with that

statement, later that day, defendant and Morales arrived at the Boston Market in the

same grey Acura used during the previous sale of methamphetamine.             Defendant

entered the restaurant, and the CI handed the money to him. Defendant and Morales

then left the premises together in the grey Acura. Although there was no discussion

with the CI regarding what the money was for, a reasonable law enforcement officer

nonetheless could have concluded that the individual who took the cash from the CI

was one of “[Penaloza’s] guys” and had knowledge of the underlying narcotics sale.

See Vravis, 761 F.3d at 516 (“The agents were able to connect ‘the guys’ to Vravis and

his companion when they observed Vravis’ conduct and his vehicle . . . near the scene

of the transaction.”).

       Law enforcement officers gained further suspicion of defendant on February 15,

2013, when they observed him, along with Penaloza and Morales, arrive in the grey

Acura and enter the Colfax Apartment, a suspected drug stash house; load items from

the Colfax Apartment into the Acura; and then leave the premises and ultimately travel

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to the Parklawn Complex, another suspected drug stash house.          Immediately after

defendant, Penaloza and Morales left the Colfax Apartment, police executed a search

warrant at this location and discovered large quantities of methamphetamine and

marijuana stored in and above a two-drawer file cabinet. The file cabinet was very

similar to the one found in Gilberto Penaloza’s residence, which also contained

methamphetamine.

        In sum, the evidence establishes more than defendant’s mere association with,

or presence near, drug trafficking activity.      Law enforcement officers observed

defendant accompany or assist Penaloza on several occasions (including during a

controlled narcotics sale), ride in the grey Acura that had been used for a prior drug

sale, retrieve the outstanding money owed for that transaction, and carry items to and

from suspected narcotics stash houses. Based on all of this information and the totality

of the circumstances throughout the investigation, a reasonable law enforcement officer

could believe that defendant was participating in narcotics trafficking activity.

Accordingly, law enforcement had probable cause to arrest defendant, and defendant’s

motions to suppress evidence and statements obtained subsequent to his arrest should

be denied.

III.    RECOMMENDATION

        For the reasons set forth above, IT IS HEREBY RECOMMENDED that

        1.    Defendant Eleuterio Izazaga-Pascacio’s Motion to Suppress All Evidence

Obtained from Unlawful Searches and Seizures [Docket No. 346] be DENIED.

        2.    Defendant Eleuterio Izazaga-Pascacio’s Motion to Suppress Statements

Made by Defendant [Docket No. 347] be DENIED.



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         3.   Defendant Eleuterio Izazaga-Pascacio’s oral motion to suppress any

evidence obtained from a search warrant permitting the use of a GPS tracking device

be DENIED.




Dated:        February 10, 2016                         s/ Janie S. Mayeron
                                                        JANIE S. MAYERON
                                                        United States Magistrate Judge



                                         NOTICE

Under D. Minn. LR 72.2(b) any party may object to this Report and Recommendation by
filing with the Clerk of Court, and serving all parties by February 25, 2016, a writing
which specifically identifies those portions of this Report to which objections are made
and the basis of those objections. All briefs filed under this Rule shall be limited to 3500
words. A judge shall make a de novo determination of those portions to which objection
is made. This Report and Recommendation does not constitute an order or judgment of
the District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.




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